Case 1:12-md-02358-JDW   Document 31-4   Filed 09/07/12   Page 1 of 3 PageID #: 284




                           EXHIBIT D
    Case 1:12-md-02358-JDW                 Document 31-4            Filed 09/07/12         Page 2 of 3 PageID #: 285




                                              HASSAN A. ZAVAREEI
                                        PARTNER, TYCKO & ZAVAREEI LLP
               Hassan Zavareei earned his law degree from the University of California, Berkeley
       School of Law (Boalt Hall) in 1995, where he graduated as a member of the Order of the Coif.
       Mr. Zavareei graduated cum laude from Duke University in 1990, with degrees in Comparative
       Area Studies and Russian. After graduation from Boalt Hall, Mr. Zavareei joined the
       Washington, D.C. office of Gibson, Dunn & Crutcher LLP, one of the nation’s premier law
       firms. In April of 2002, Mr. Zavareei became a founding partner of Tycko & Zavareei LLP.
                Mr. Zavareei has handled numerous trials and appeals in state and federal courts across
       the nation in a wide range of practice areas. In his civil rights practice, Mr. Zavareei represents
       individuals, groups of employees, and tenant associations in employment and fair housing
       litigation. Since co-founding Tycko & Zavareei LLP in 2002, Mr. Zavareei has obtained
       substantial judgments and settlements for his civil rights clients.
              In a recent appeal he argued before the Fifth Circuit, Mr. Zavareei successfully
       overturned an injunction that infringed on his client’s First Amendment rights to free speech. Mr.
       Zavareei is currently representing defrauded students and a nationally known test preparation
       business in high profile trademark, copyright, and unfair competition litigation in California,
       Texas, and the District of Columbia.
                Mr. Zavareei also has significant experience and success in litigating nationwide class
       actions on behalf of plaintiffs and defendants. For instance, Mr. Zavareei managed the defense of
       a nationwide class action brought against a major insurance carrier, and, along with co-counsel,
       negotiated a nationwide class settlement. Mr. Zavareei successfully obtained court approval of
       the settlement, and supervised the administration of the multi-million dollar settlement fund. Mr.
       Zavareei is currently litigating several class action lawsuits on behalf of injured consumers. In
       the last year, he has been appointed class counsel in Trombley, et al. v. National City Bank and
       co-class counsel in Schulte, et al. v. Fifth Third Bank, Taulava v. Bank of Hawaii, Casto v. City
       National Bank, Case, et al. v. Bank of Oklahoma, Allen, et al. v. United Missouri Bank, and
       Mathena v. Webster Bank. All are nationwide class actions involving the improper assessment
       of checking account overdraft fees. In addition, Mr. Zavareei has been appointed co-lead counsel
       in In re APA Assessment Fee Litigation, a putative nationwide class action regarding billing
       practices of the American Psychological Association. Mr. Zavareei is also currently co-lead
       counsel in a nationwide class action against General Electric regarding defective microwaves.
                As part of his environmental and administrative law practice, Mr. Zavareei has obtained
       significant victories for his municipal and Indian Tribe clients in challenges to federal
       rulemakings, and negotiated complex settlements in CERCLA cases on behalf of Fortune 500
       clients. Mr. Zavareei also led a team of attorneys representing a state agency that was
       investigated by the United States Attorney’s Office for alleged violations of environmental
       criminal laws. At the conclusion of the investigation, the U.S. Attorney exonerated Mr.
       Zavareei’s client.




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Case 1:12-md-02358-JDW         Document 31-4        Filed 09/07/12     Page 3 of 3 PageID #: 286




         Mr. Zavareei is admitted to the State Bar of California, The Bar of the District of
 Columbia, the Bar of the State of Maryland, the District Court of the District of Columbia, and
 the Circuit Courts of the District of Columbia, the Ninth Circuit, and the Fifth Circuit.
